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lN THE UN|TED STATES DlSTR|CT COURT 1
FOR THE WESTERN D|STR|CT OF TENNESSEEQ§ hug 21§ pH 31 30
WESTERN D|VIS|ON

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UNlTED STATES OF AMER|CA "{}L ;J‘.l lquDH;S

 

P|aintif'f

VS.
CR. NO. 05-20156-D

JOHN MURRAY, JR.,

Defendant.

 

ORDER ON CONTlNUANCE AND SPEC|FY|NG PERIOD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause was set for trial on the September, 2005 criminal rotation calendar.
Counse| for the defendant has requested a continuance of the trial date in order to allow
for additional preparation in the case.

The Court granted the request and reset the trial date to October 3, 2005 with a
Re ort Date of Tuesda Se tember 22 2005 at 9:00 am., in Courtroom 3 9th Floor

 

 

of the Federa| Bui|ding, Memphis, TN.

The period from September 16, 2005 through October 14, 2005 is excludable
under 18 U.S.C. § 3161(h)(8)(B)(iv) because the ends of justice served in allowing for
additional time to prepare outweigh the need for a speedy tria|.

|T iS SO ORDERED this 921 day Of August, 2005.

‘gE JES|CEB. D§éALD

i\BTED STATES D|STR|CT JUDGE

 

This document entered on the docket sheet in compliance 7 %

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UNITED sTATE DISTRIC COUR - WESTERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 26 in
case 2:05-CR-20156 Was distributed by faX, mail, or direct printing on
August 25, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

